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                         Exhibit C
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From:                McCarten, Timothy (DC)
Sent:                Thursday, May 18, 2023 1:29 PM
To:                  'Wolf, Lesley (USADE)'; Hudson, Carly (USADE)
Cc:                  Christopher Clark; Salerno, Matthew (NY); McManus, Brian (BN)
Subject:             RE: In re Grand Jury Subpoenas 19-3-LFWS-V-176 - 179 - CONFIDENTIAL
Attachments:         2023.05.18 Agreement (PRELIMINARY DRAFT - CONFIDENTIAL).docx; 2023.05.18 Agreement
                     (PRELIMINARY DRAFT - CONFIDENTIAL).pdf


CONFIDENTIAL
SUBJECT TO FRE 408, FRE 410, AND FED. R. CRIM. P. 11(f)

Lesley and Carly,

Per your discussion this morning with Chris, attached please find an initial draft of a Non Prosecution Agreement (with
an initial draft Statement of Facts at Attachment A).

We are sharing the enclosed draft document as a confidential settlement communication, for the purpose of facilitating
further discussions about the contours of a possible resolution. The enclosed draft is both preliminary in nature and
subject to change. We are sharing it with you on the understanding that there will be opportunities for both sides to
review and revise the document, and we expressly reserve the right to supplement or amend.

As I understand Chris communicated to you this morning, the enclosed draft has not been reviewed by our
client. Nothing in the enclosed draft is to be construed as an admission by our client.

Consistent with the above, the enclosed draft is protected by Federal Rules of Evidence 408 and 410, as well as Federal
Rule of Criminal Procedure 11(f), and neither the content of the enclosed draft nor the fact of its transmission can be
used to prove or disprove the validity of a disputed claim or to impeach Mr. Biden by a prior inconsistent statement or a
contradiction. Mr. Biden does not intend to waive any such privileges in this transmission or in any other
correspondence with the Department, and any such waivers should be construed as inadvertent.

Best,
Tim

Timothy H. McCarten

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                                                               PRELIMINARY DRAFT – 05/18/2023
                      For Discussion Purposes Only – Subject to Review and Revision By Both Sides
 Subject to FRE 408, FRE 410, Fed. R. Crim. P. 11(f), and All Similar Rules of Federal and State Law

       1.      Term of the Agreement. The term of this Agreement shall begin on the date of
signing this agreement and shall expire on January 19, 2025, unless there is a breach as set forth
in paragraphs 4 and 5. Obligations hereunder survive the term of this Agreement only where this
Agreement expressly so provides.

         2.     Acknowledgment of Facts. Robert Hunter Biden (individually and on behalf of
Owasco P.C.) acknowledges and agrees that the Statement of Facts as set forth in Attachment A,
is truthful and accurate.

       3.     Undertakings of Mr. Biden. It is understood that during and under the terms of
this Agreement, Robert Hunter Biden shall:

               a.      Not purchase, possess, or attempt to purchase or possess, or otherwise come
into possession of, a firearm (as that term is defined by Title 18, United States Code, Section
921(a)(3)), during the term of this Agreement or at any time thereafter.

               b.      Pay or cause to be paid (to the extent not already paid) to the IRS, before
the expiration of this Agreement, all outstanding federal income tax, penalties, and interest owed
by Robert Hunter Biden and Owasco P.C. for calendar years 2014 through 2022, inclusive. The
amounts due by Robert Hunter Biden and Owasco P.C. for those tax years will be determined by
the United States Department of Justice, Tax Division, and specified in a document to be shared
between the parties to this Agreement.

                c.     During the term of this Agreement and for five (5) years thereafter, timely
file federal income tax returns, and timely pay or cause to be paid all federal income tax owed to
the IRS in connection therewith, in all cases subject to duly-authorized extensions.

       4.      Violation of Agreement.

                a.    Robert Hunter Biden (individually and on behalf of Owasco P.C.) agrees
that a knowing failure to abide by or fully perform any of the terms, promises, or agreements set
forth in this Agreement shall constitute a breach of this Agreement.

                 b.      If the United States determines that Robert Hunter Biden or Owasco P.C.
committed a knowing material breach of this Agreement, the United States shall provide Robert
Hunter Biden with written notice of this preliminary breach determination. Within thirty (30)
calendar days from the date of the United States’ written notice, Robert Hunter Biden shall have
the right to make a presentation to the United States or its designees to demonstrate that no breach
has occurred, or to the extent applicable, that the breach was not a knowing or material breach or
that the breach has been cured. If Robert Hunter Biden elects to make a presentation, then the
United States shall thereafter provide written notice to Robert Hunter Biden of the United States’
final determination regarding whether a breach occurred within thirty (30) days of the presentation.
If Robert Hunter Biden elects fails to make a presentation within the thirty (30) day time period,
then the initial notification will become the United States’ final determination.


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              c.      If the United States makes a final determination that Robert Hunter Biden
or Owasco P.C. made a knowing and material breach of this Agreement, then the United States
may elect from the following remedies depending on the nature and seriousness of the breach:

                           i. Remedy 1 – The United States may give the breaching party a
               specific time period in which to remedy the breach. If the United States determines
               that the breaching party has failed to remedy the breach during the specified time
               period, then the United States may elect Remedy 2 below.

                           ii. Remedy 2 – The United States may prosecute the breaching party
               for any federal criminal violation of which the United States has knowledge,
               including crimes related to the conduct set forth in the Statement of Facts
               (Attachment A); perjury; and obstruction of justice; and any such prosecution that
               is not time-barred by the applicable statute of limitations on the date of the signing
               of this Agreement, notwithstanding the expiration of the statute of limitations
               between the signing of this Agreement and the commencement of such prosecution.
               It is the intent of this Agreement for Robert Hunter Biden (individually and on
               behalf of the affiliated businesses) to agree to be subject to the jurisdiction of, and
               venue in, the United States District Court for the District of Delaware for any such
               prosecution.

               d.      It is the further intent of this Agreement for Robert Hunter Biden
(individually and on behalf of Owasco P.C.) to waive all defenses based on the statute of
limitations and the Speedy Trial Act (18 U.S.C. § 3161) with respect to any prosecution that is not
time-barred on the date that this Agreement is signed.

                e.      Robert Hunter Biden (individually and on behalf of Owasco P.C.) further
agrees to the tolling of any applicable statute of limitations from the date this Agreement is signed
until the terms of this Agreement are fulfilled.

        5.      No Repudiation or Contradiction of Statement of Facts. Robert Hunter Biden
(individually and on behalf of Owasco P.C.) agrees that he shall not, himself or through any agent
or representative, make any statement, in litigation or otherwise, repudiating or contradicting the
Statement of Facts associated with this Agreement (Attachment A). Any contradictory statement
by Robert Hunter Biden or Owasco P.C., or by an agent for Robert Hunter Biden or Owasco P.C.,
shall constitute a violation of this Agreement. If such contradictory statement is determined by the
United States to constitute a knowing material breach of this Agreement, then the breaching party
shall be subject to prosecution for the conduct as described in the Statement of Facts (Attachment
A), and waives the right to contest or object to the facts set forth therein. The decision as to whether
any contradictory statement will be imputed to Robert Hunter Biden or Owasco P.C. for the
purpose of determining whether Robert Hunter Biden or Owasco P.C. committed a violation of
this Agreement shall be at the sole discretion of the United States. Upon the United States reaching
a determination that a contradictory statement has been made by Robert Hunter Biden or Owasco
P.C., the United States shall promptly notify Robert Hunter Biden (individually or on behalf of
Owasco P.C.) in writing, and Robert Hunter Biden and Owasco P.C. may avoid a breach of this
Agreement by repudiating the statement in question both to the recipient of the statement and to
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                                                               PRELIMINARY DRAFT – 05/18/2023
                      For Discussion Purposes Only – Subject to Review and Revision By Both Sides
 Subject to FRE 408, FRE 410, Fed. R. Crim. P. 11(f), and All Similar Rules of Federal and State Law

AGREED AND CONSENTED TO:


_____________________________                        _____________________________
Robert Hunter Biden                                  Date


_____________________________                        _____________________________
Robert Hunter Biden                                  Date
on behalf of Owasco P.C.



APPROVED:


_____________________________                    _____________________________
Christopher J. Clark                             Date
Clark Smith Villazor LLP
Attorney for Robert Hunter Biden and Owasco P.C.


_____________________________                        _____________________________
Brian C. McManus                                     Date

Matthew S. Salerno
Timothy H. McCarten

Latham & Watkins LLP
Attorneys for Robert Hunter Biden and Owasco P.C.




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                      For Discussion Purposes Only – Subject to Review and Revision By Both Sides
 Subject to FRE 408, FRE 410, Fed. R. Crim. P. 11(f), and All Similar Rules of Federal and State Law

                                       ATTACHMENT A

                                   STATEMENT OF FACTS

        The following Statement of Facts is incorporated by reference as part of the Non-
Prosecution Agreement (the “Agreement”) between the United States and Robert Hunter Biden
(individually and on behalf of Owasco P.C.). Robert Hunter Biden (individually and on behalf of
Owasco P.C.) hereby agrees and stipulates that the following information is true and accurate.

      1.     In or around October 2018, in the District of Delaware, Robert Hunter Biden
knowingly possessed a firearm while then an unlawful user of a controlled substance.

         2.     In calendar years 2017 and 2018, Robert Hunter Biden was a U.S. citizen and
earned income from U.S. sources. At all times relevant to this Statement of Facts, Robert Hunter
Biden knew that he had legal duties to file an income tax return and to pay federal income taxes,
in relation to both 2017 and 2018.

        3.       In calendar years 2017 and 2018, Owasco P.C. was an entity organized under the
laws of the District of Columbia, and earned income from U.S. sources. At all times relevant to
this Statement of Facts, Robert Hunter Biden, including in his capacity as agent of Owasco P.C.,
knew that Owasco P.C. had legal duties to file an income tax return and to pay federal income
taxes, in relation to both 2017 and 2018.

        4.      In or around February 2020, Robert Hunter Biden filed individual federal income
tax returns for calendar years 2017 and 2018.

        5.     In or around February 2020, Owasco P.C. filed corporate federal income tax returns
for calendar years 2017 and 2018.




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